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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JUICY COUTURE, INC. ET AL., No. CV 09-0387 CBM (PJWX)
Plaintiffs,
v. PERMANENT INJUNCTION
IL KEUN OH, ET AL.,
Defendants.

 

 

Pursuant to the Court’s Order Granting Plaintiffs Juicy Couture, Inc.’s and
L.C. Licensing, Inc.’s Motion for Default Judgment and Permanent Injunction, the
Court finds that a Permanent Injunction should be issued.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

To ensure that Defendants ll Keun Oh, Jacqueline Oh, Joon Yeop Kim, and
Elegance Fashion Mart, Inc. (collectively, “Defendants”) do not engage in any
future infringement of Plaintiffs’ trademarks, JUICY (for clothing), JUICY
COUTURE (for Women’s clothing), JUICY COUTURE (for clothing)
(collectively, “the Juicy Marks”), Defendants are hereby enjoined from:

(l)imitating, copying or making any other counterfeit distribution of

Plaintiffs’ items protected by Plaintiffs’ registered trademarks or

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service marks, including but not limited to, the following Tradernark
and/or Service Mark Registration Numbers:

a. 2,978,046

b. 2,348,674

c. 2,2285,231
or any other works now or hereafter protected by any of Plaintiffs’

trademarks;

(2) manufacturing, assembling, producing, distributing, offering for

distribution, circulating, selling, offering for sale, advertising,
importing, promoting or displaying any apparel, item or thing bearing
any simulation, reproduction, counterfeit, copy or colorable imitation
of any of Plaintiffs’ registered trademarks or service marks, including
but not limited to, the Trademark and Service Mark Registration

numbers listed in Paragraph (l) above;

(3)using any simulation, reproduction, counterfeit, copy or colorable

imitation of Plaintiffs’ registered trademarks, including, but not
limited to, the Trademark and Service Mark Registration numbers
listed in Paragraph (l) above, in connection with the manufacture,
distribution, offering for distribution, sale, offering for sale,
advertisement, promotion or display of any of Plaintiffs’ products,

items or things not authorized or licensed by Plaintiffs;

(4) using any false designation of origin or false description which can or

is likely to lead the trade or public or individuals to erroneously
believe that any product, item, or thing has been manufactured,
produced, distributed, offered for distribution, advertised, promoted,
displayed, licensed, sponsored, approved, or authorized by or for

Plaintiffs, when such is not true in fact;

(5)using the names, logos, or other variations thereof of any of

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Plaintiffs’ trademark-protected products in Defendants’ trade names;
(6) engaging any other activity constituting an infringement of any of
Plaintiffs’ trademarks or Plaintiffs’ rights in, or right to use, or to
exploit Plaintiffs’ trademarks, and/or constituting any dilution of
Plaintiffs’ name, reputation, or goodwill; and
(7) assisting, aiding, or abetting any other person or business entity in
engaging in or performing any of the activities referred to in

paragraphs (l) through (6) above.

IT IS SO ORDERED.

DATED; september Q, 2010 By ""’L‘" /‘5%-_"

 

CONSUELO B. MARSHALL
UNITED STATES DISTRICT JUDGE

 

 

